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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 ROBERT TANNENBAUM,

                     Plaintiff,          Case No.: 8:18-cv-00487-EAK-CPT
 vs.                                     JURY TRIAL DEMANDED
 JEFFERIES LLC,
                     Defendant.



                  PLAINTIFF’S RESPONSE IN OPPOSITION TO
              DEFENDANT’S MOTION TO DISMISS THE COMPLAINT
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         Plaintiff Robert Tannenbaum (“Plaintiff”), respectfully submits this memorandum in

 opposition to the Rule 12(b)(6) motion to dismiss the Complaint filed by Defendant Jefferies LLC

 (“Defendant”) [Dkt. No. 11]. In support hereof, Plaintiff presents the following:

                                           INTRODUCTION

         There is a well-traveled maxim among candidates for public office that one must never

 answer the question asked, but rather the question one wished had been asked. In that spirit,

 Defendant presents a motion to dismiss a complaint it wished had been filed, instead of the actual

 Complaint in this case.

         Plaintiff’s Complaint tells a straightforward, classic tale of blithely-rendered misstatements,

 half-truths, and omissions issued by Defendant to Plaintiff for its short-term financial gain, followed

 by escalating misrepresentations that both continued and covered up Defendant’s prior and ongoing

 fraudulent conduct. All of this went on for several years until, despite Defendant’s best and

 concerted efforts, the whole truth finally emerged. In other words, the Complaint offers a garden

 variety example of the type of conduct that its causes of action – fraudulent misrepresentation and

 negligent misrepresentation – are designed to remediate.

         Plaintiff has alleged a particularized compilation of actionable oral misrepresentations made

 by Defendant that were designed to, and did, (1) convince Plaintiff to invest hundreds of thousands

 of dollars into a company, Palmaz Scientific, Inc. (the “Company”), that Defendant knew, or did not

 care if it knew, was in materially worse shape than what it was telling Plaintiff; and then (2) continue

 and paper over those initial misrepresentations largely in the hopes of delaying or avoiding discovery

 by Plaintiff that he had been snookered by Defendant. Accompanying these, Plaintiff has detailed

 with sufficient specificity that he (1) relied, justifiably, on these material misrepresentations and

 omissions in changing his mind and deciding to invest, and then declining to exercise shareholder

 rights that may have salvaged his investment before the Company went bankrupt; and (2) understood




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 – including as a result of his own experience – that Defendant was duty-bound to not make the very

 misrepresentations he ultimately learned it had made to him over and over again.

         Plaintiff has therefore pled the elements of fraudulent and negligent misrepresentation with

 more than sufficient particularity to satisfy the federal pleading requirements of Federal Rule of Civil

 Procedure 9(b). This is particularly so in light of this Circuit’s instruction that its courts are to

 interpret Rule 9(b) holistically rather than mechanistically, so as to ensure that defendants have been

 sufficiently apprised of the particular claims against them while remaining mindful that plaintiffs

 who have thoughtfully and lucidly detailed prolonged, multi-act schemes to defraud at the pleading

 stage deserve a fair chance to investigate their claims in discovery.

         For example, there can be little doubt that the Complaint specifies the required “who-what-

 where-when-and-how” regarding the series of false statements of fact intentionally or negligently

 made by Defendant in October and December 2011 that were not only material to but also the very

 basis of Plaintiff’s decision to reverse course and invest in the Company. Plaintiff precisely

 describes the very telephonic assertions that changed his mind about investing in the Company after

 Defendant’s written materials had failed to tempt him – statements that he later learned were

 comprised of fabrications, exaggerations, half-truths, and omissions regarding key items such as the

 Company’s finances and operations; Defendant’s own claimed investment commitment to the

 Company; and the supposedly enthusiastic and ongoing (rather than abandoned) financial support of

 a powerful, reputable industry leader, Johnson & Johnson.

         The Complaint further specifies – even though Plaintiff is entitled to aver knowledge

 generally under Rule 9(b) – several reasons why Defendant’s Ostrove self-evidently knew of, or was

 recklessly or negligently indifferent regarding, the falsity of what he was telling Plaintiff during these

 and later phone calls – as just one obvious example, Defendant’s Ostrove surely was aware he had

 not invested in the Company himself. Florida law as well makes clear that whether or not Defendant

 entered these conversations duty-bound to truthfully disclose the information discussed during these


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 calls, once Defendant decided to issue representations regarding the Company, it was required to do

 so without misleading Plaintiff, which it failed to do.

         As well, the Complaint plainly maps out that, as Defendant intended, Plaintiff relied on

 representations made by Defendant in determining to reverse course and invest in the Company, and

 moreover that said reliance was justified in light of, among other things, Plaintiff’s recognition that

 Defendant had unique, superior knowledge of and access to the categories of information about the

 Company it was touting during these calls; and was furthermore required to speak truthfully and in

 an informed fashion about the investment it was recommending.

         In other words, this Complaint does the job asked of it by the Federal Rules and this Circuit:

 it places Defendant on sufficiently particular notice of the nature of the fraud-based claims Plaintiff

 has brought against it. Defendant’s Motion therefore not only fails, but seems to exist in an alternate

 universe. Most notably (and egregiously), it effectively wishes away several categories of allegations

 in the Complaint; as representative example, Defendant avoids the most inflammatory allegations in

 the Complaint in order to argue that no actionable misrepresentations were pled. Rather than

 acknowledging and attempting to address those allegations, Defendant simply shuts its eyes and

 pretends they never existed, presumably in order to buttress its Motion. This renders the Motion, to

 put it mildly, incomplete to the point of incoherence.

         Moreover, Defendant inverts Florida and federal law at multiple junctures in its filing,

 perhaps most flagrantly in attempting to shoehorn a statute of limitations-based affirmative defense

 into a motion to dismiss by, once again, pretending that allegations in the Complaint that moot its

 argument are optical illusions. The Complaint directly sets forth the piecemeal manner in which

 Defendant’s wrongdoing was revealed – despite Defendant’s concerted efforts – between events

 leading up to the Company’s 2016 bankruptcy and the final pieces of the puzzle revealed in 2017

 court filings by the Company’s bankruptcy trustee and former Company investors. Yet Defendant




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 refuses to acknowledge these allegations – let alone that the law does not task plaintiffs with negating

 statute of limitations arguments in their complaints.

         Most prominently, Defendant throughout the Motion attempts to transform the Subscription

 Agreement between Plaintiff and the Company into a retroactive license for Defendant to defraud.

 Not so. Defendant’s behavior was in no way among the protections the Subscription Agreement

 offered for Plaintiff, Defendant, and the Company; and even if the Subscription Agreement was

 designed to benefit fraudsters, this Circuit only last year affirmed that contractual disclaimers under

 Florida law are to be weighed against all other evidence at later stages of the case, rather than used to

 dismiss otherwise proper complaints.

         In sum, despite Defendant’s anxious efforts to engineer a new Complaint composed

 exclusively of allegations vulnerable to dismissal – in lieu of engaging with the actual allegations in

 this case – dismissal is not here warranted. Plaintiff respectfully submits that the Court should deny

 Defendant’s shambolic motion to dismiss.

                                          LEGAL STANDARD

         When confronting a Rule 12(b)(6) motion to dismiss, the well-pled allegations in a complaint

 are presumed to be true, and the Court evaluates whether the facts alleged offer enough non-

 conclusory information to state a claim for relief that is plausible on its face. Bell Atl. Corp. v.

 Twombly, 550 U.S. 544, 570 (2007); Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

         “The plausibility standard calls for enough fact to raise a reasonable expectation that

 discovery will reveal evidence of the defendant's liability.” Chaparro v. Carnival Corp., 693 F.3d

 1333, 1337 (11th Cir. 2012) (quotations omitted). As well, courts “must also view the complaint in

 the light most favorable to the plaintiff and must resolve any doubts as to the sufficiency of the

 complaint in the plaintiff's favor.” GlobalOptions Services, Inc. v. N. Am. Training Group, Inc., 131

 F. Supp. 3d 1291, 1296 (M.D. Fla. 2015) (citation omitted).




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                                              ARGUMENT

 I.      Plaintiff’s Claims Have Been Timely Brought

         The Complaint plainly and particularly describes the sequence of events between

 Defendant’s issuance of actionable misrepresentations that caused Plaintiff to invest hundreds of

 thousands of dollars into the Company; Defendant’s persistent machinations to deter discovery by

 Plaintiff of ongoing misdeeds at the Company as well as the misleading character of Defendant’s

 earlier statements on which Plaintiff relied in deciding to invest; and a series of events (any of which

 render this litigation timely brought if deemed the moment of discovery for statute of limitations

 purposes) between 2015 and 2017 that, altogether, finally apprised Defendant of the existence,

 breadth, and depth of Defendant’s successful misrepresentations. See, e.g., Compl. ¶¶ 19-21. The

 Motion tries and fails to sidestep (or wish out of existence) these details in order to argue this case

 qualifies among the rare instances in which an affirmative defense warrants dismissal at the pleading

 stage. Such an argument is facially defective.

         a.      Legal Standard

         An assertion that the statute of limitations has passed is an affirmative defense, see Fed. R.

 Civ. P. 8(c)(1), and therefore customarily not appropriate as a basis for dismissal under Rule

 12(b)(6), unless it is apparent on the face of the complaint that the plaintiff’s claims are untimely.

 See, e.g., Gullo v. Equifax Info. Services LLC, 2016 WL 3221735, at *3 (M.D. Fla. June 8, 2016)

 (Kovachevich, J.). “Because a statute of limitations defense is an affirmative defense, [plaintiffs] are

 not required to negate it in their complaint.” Id. (citation omitted).

         Under Florida law, fraud-based claims are subject to a four-year statute of limitations period,

 see Fla. Stat. § 95.11(3)(j), and such claims accrue “from the time the facts giving rise to a cause of

 action were discovered or should have been discovered with the exercise of due diligence.” Fla. Stat.

 § 95.031(2)(a). See Hearndon v. Graham, 767 So. 2d 1179, 1184 (Fla. 2000). In evaluating the

 degree of due diligence exercised by a fraud plaintiff, Florida instructs that “a recipient may rely on


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 the truth of a representation, even though its falsity could have been ascertained had he made an

 investigation, unless he knows the representation to be false or its falsity is obvious to him.” Besett

 v. Basnett, 389 So. 2d 995, 998 (Fla. 1980).

         As well, when a complaint includes allegations outlining when and how the fraud was

 discovered, and that do not suggest the plaintiff was indiligent, “the question of when fraud is

 discovered is one for the jury and cannot be decided on a [Rule 12(b)(6)] motion to dismiss.” Am.

 Home Assur. Co. v. Weaver Aggregate Transport, Inc., 773 F. Supp. 2d 1317, 1323 (M.D. Fla. 2011).

 See also Knight v. E.F. Hutton & Co., 750 F. Supp. 1109, 1113 (M.D. Fla. 1990) (holding, in light of

 allegations of fraudulent concealment of “investment facts,” that “the issue of whether Plaintiff has

 exercised sufficient due diligence in timely discovering the fraud . . . cannot be resolved on a motion

 to dismiss. It is a question for the jury.”) (Kovachevich, J.).

         b.      Plaintiff Facially Alleged Timely Discovery of Defendant’s Misrepresentations

         The Complaint offers a chronology of Defendant’s escalating misrepresentations that

 satisfies the low threshold for avoiding dismissal on statute of limitations grounds in two interrelated

 ways: first, the Complaint details multiple materially false statements by Defendant in October and

 December 2011 on which Plaintiff relied in purchasing Company shares, followed by a series of

 lulling misrepresentations designed to deter discovery of the compromised state of affairs at the

 Company, and which culminated in two phone calls in April 2016 between the parties that included

 overdue mea culpas and more misrepresentations by Defendant’s Ostrove. See, e.g., Compl., ¶ 18.

 Under this path to the discovery process, Plaintiff has alleged that a prolonged, multi-act coverup was

 calculated to and did delay his discovery of the actionable misrepresentations made to him until no

 earlier than 2015, when “distressing news about the Company [] was beginning to leak out,” Compl.

 ¶ 16(d), and no later than separate 2017 filings, including by the Company’s bankruptcy trustee, that

 informed Plaintiff of the true extent of Defendant’s 2011 misstatements and omissions regarding, for

 example, the actual financial and operational health of the Company and the radically different truth


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 of Johnson & Johnson’s former – not current – involvement with the Company. See id. ¶ 21. Thus,

 at minimum, here “the delayed discovery issue is inextricably woven into factual questions

 surrounding the transaction at issue,” and dismissal is unwarranted. Razor Capital, LLC v. CMAX

 Finance LLC, 2017 WL 3481761, at *5 (S.D. Fla. Aug. 14, 2017). See also Knight, 750 F. Supp. at

 1113 (allegations of fraudulent concealment of “investment facts” render the delayed discovery

 question a jury issue) (Kovachevich, J.).

         As well, the Complaint sets forth an alternative timeline in which the misrepresentations at

 issue continued past Plaintiff’s 2012 purchase of Company stock, including via escalating

 misrepresentations made by Defendant to Plaintiff through the Company’s 2016 bankruptcy.

 Plaintiff has alleged that the extensive lulling representations made by Defendant to Plaintiff

 regarding the Company – which Plaintiff was entitled to credit due to Defendant’s asserted superior

 knowledge regarding the Company displayed by, among other things, Defendant’s 2014 production

 of the Company’s CEO for a personal, reassuring call to Plaintiff regarding the health of the

 Company within 24 hours of boasting that he could engineer such a call – harmed his ability to

 unearth problems at the Company that could have, among other options, been remediated pursuant to

 Plaintiff’s rights as a shareholder (i.e., derivative litigation; books and records inspections; requesting

 the formation of a Special Committee of board members to investigate conduct by Company officers;

 and so on and so forth). See Compl. ¶¶ 30-31. This theory too demonstrates that, at minimum,

 meaningful questions of fact designed to be resolved by the trier of fact exist as to when Plaintiff

 reasonably should have uncovered the fraud.1


 1
   To be clear, this lawsuit is timely regardless of whether the four-year clock started at the time Plaintiff
 learned of “distressing news” regarding the Company in 2015, Compl. ¶ 16(d), or at the time of the April
 2016 phone calls between Plaintiff and Defendant, id. ¶¶ 18-20, or all the way through to the 2017
 revelations in the Company bankruptcy trustee court filings, id. ¶ 21. Accord McGinley v. Jetton, 2011
 WL 2600443, at *3 (M.D. Fla. June 29, 2011) (reminding that plaintiffs are not required to “negate” the
 statute of limitations affirmative defense in their complaints, and denying motion to dismiss on statute of
 limitations grounds even when complaint did not specify the exact date the statute began to run under the
 delayed discovery doctrine) (Kovachevich, J.).


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         Defendant’s arguments to the contrary are unavailing and inapposite. Defendant cites

 primarily to a recent Eleventh Circuit decision, Bedtow Grp. II, LLC v. Ungerleider, 684 F. App’x

 839 (11th Cir. 2017), purportedly for the proposition that Plaintiff should have uncovered the

 misrepresentations here pled by no later than the date he signed the Subscription Agreement. Mot. at

 10-11. Yet the Ungerleider case issued that holding explicitly because its plaintiff included zero

 “allegation[s] that Defendants had ‘exclusive or superior knowledge’” regarding the

 misrepresentations alleged, as required to satisfy the due diligence showing for the Florida delayed

 discovery rule. Id. at 842 (citation omitted).2 Plaintiff has here included multiple allegations that

 Defendant not only enjoyed but boasted of its “unique, superior knowledge” regarding the Company

 – and moreover was under heightened duties to speak truthfully regarding investment facts to its

 clients, as both Plaintiff and Defendant were aware. See, e.g., Compl. ¶¶ 8(a)-(b), 17, 37.3 Accord In

 re Palm Ave. Partners, LLC, 576 B.R. 239, 253-54, 257-58 (Bankr. M.D. Fla. 2017) (delayed

 discovery doctrine applied to deny statute of limitations affirmative defense under circumstances

 where defendant was under duty to disclose to plaintiff-investors at the time he made actionable

 fraudulent and negligent misrepresentations).

         Therefore, as it is apparent from the face of the Complaint that these fraud-based claims were

 timely discovered and timely filed, Defendant cannot fit itself into the “facially evident” exception to

 the general rule that affirmative defenses need not be negated at the pleading stage.4


 2
   Defendant also cites to an out-of-circuit case, Freeman v. Bianco, 2003 WL 179777 (S.D.N.Y. Jan 24,
 2003), see Mot. at 10, that included no reference to or discussion of the delayed discovery doctrine, likely
 in part because the plaintiffs filed a “complaint [that] is so poorly drafted that it is difficult to characterize
 the nature of plaintiffs’ claims,” Freeman, 2003 WL 179777, at *4. Such a setting has no practical
 bearing on the particulars of this case.
 3
   Defendant’s citation to this Court’s holding in a summary judgment setting, Armbrister v. Roland Int'l
 Corp., 667 F. Supp. 802 (M.D. Fla. 1987), which was premised on “voluminous” evidence unearthed by
 both sides during discovery, is at minimum premature, and involves a distinguishable factual setting in
 which the relevant misrepresentations were mere “puffing” rather than, for instance, misleading claims
 that industry icon Johnson & Johnson was and would be an enthusiastic fellow investor. Id. at 811.
 4
   Defendant also includes as an exhibit to the Motion prior correspondence between the parties in 2016,
 apparently to complain that Plaintiff should have filed this lawsuit at that time. That correspondence, if it


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 II.     Plaintiff’s Claims Have Been Properly Pled under Rule 9(b)

         Plaintiff’s Complaint sounds in fraud and has been particularly pled according to the dictates

 of Rule 9(b) and this Circuit’s longstanding precedent regarding same. See, e.g., Friedlander v.

 Nims, 755 F.2d 810, 813 n.3 (11th Cir. 1985), abrogated on other grounds by Wagner v. Daewoo

 Heavy Indus. Am. Corp., 314 F.3d 541 (11th Cir. 2002) (“[A] court considering a motion to dismiss

 for failure to plead fraud with particularity should always be careful to harmonize the directives of

 Rule 9(b) with the broader policy of notice pleading found in Rule 8.”); Hummel v. Tamko Building

 Products, Inc., 2016 WL 7340301, at *2 (M.D. Fla. Mar. 28, 2016) (“Importantly, Rule 9(b) does not

 abrogate the concept of notice pleading”). In response, Defendant’s Motion tries to wish much of the

 Complaint out of existence in order to argue the remainder is ill-pled – a strategy which reveals its

 shortcomings on a cursory comparison of Complaint allegations with those portions of the Motion.

         a.      Legal Standard

          Federal Rule of Civil Procedure 9(b), which governs claims that sound in fraud, requires

 that the “circumstances constituting fraud” be alleged with particularity, while “conditions of a

 person’s mind” such as intent and knowledge may be alleged generally. Fed. R. Civ. P. 9(b). See,

 e.g., Brightstar Corp. v. WSA Distributing Inc., 2010 WL 1027420, at *3 (S.D. Fla. Mar. 8, 2010)

 (“Rule 9(b) [] does not require that Plaintiff plead every element of the fraud claim with particularity,

 only the circumstances constituting fraud.”) (emphasis in original). As to the particularity

 requirement, in this Circuit it may be satisfied by showing: “(1) precisely what statements were

 made in what documents or oral representation or what omissions were made, and (2) the time and

 place of each statement and the person responsible for making (or in the case of omissions, not


 is relevant to this Motion at all, merely demonstrates salutary conduct by Plaintiff to (1) attempt to resolve
 this dispute prior to burdening the federal courts with another matter, and (2) determine in the aftermath
 of that correspondence to continue diligently investigating his claims rather than racing to the courthouse
 – a decision that was rewarded when the Company’s bankruptcy trustee weighed in with substantial new
 information and details that were highly relevant to these fraud-based claims in 2017, as well as exposed
 several statements made by Defendant’s Ostrove in the April 2016 telephone calls as misleading.


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 making) same, and (3) the content of such statements and the manner in which they misled the

 plaintiff, and (4) what the defendants obtained as a consequence of the fraud.” Mizzaro v. Home

 Depot, Inc., 544 F.3d 1230, 1237 (11th Cir. 2008).

         Nevertheless, “this heightened rule must not be read to abrogate the general pleading

 standard,” for when determining a motion to dismiss, “the broader policy of ‘notice pleading’ must

 be harmonized with the specificity required in Rule 9(b).” Firehouse Gallery, LLC v. Phillips, 2009

 WL 4015575, at *3 (M.D. Fla. Nov. 19, 2009) (Kovachevich, J.). At the pleading stage, “it is

 enough” for plaintiffs to detail “what [they] lost and how [they] lost it,” such that defendants “know

 what they are accused of and have sufficient information to formulate their defense.” Freeman v.

 Sharpe Resources Corp., 2015 WL 2151723, at *10 (M.D. Fla. May 16, 2013).

         b.      Plaintiff’s misrepresentation-based claims are particularly pled

         Plaintiff alleges the “circumstances constituting fraud” by Defendant with substantial detail

 throughout the misrepresentation-based Complaint. For illustrative example:

 •   Plaintiff details the participants (Plaintiff and Defendant’s Ostrove); dates (October 2011 and

     December 2011); locations (Tampa, Florida and New York City, NY); subject matter and

     purpose (so Defendant’s Ostrove could try again to convince Plaintiff to invest in the Company

     after Plaintiff had declined to do so after evaluation of Defendant’s promotional literature);

     means of communication (cellular telephone); initiating party for both calls (Defendant); gap of

     time between the calls (weeks); and outcome (a refusal to invest by Plaintiff after the October

     call, followed by an agreement to invest by Plaintiff after the December call) of the phone calls

     between Plaintiff and Defendant that act as the wellspring of this action. See Compl. ¶¶ 8-14.

     These allegations delineate the core misrepresentations made by Defendant during these calls,

     including that both Johnson & Johnson and Mr. Ostrove himself were current and enthusiastic

     investors in the Company (with Johnson & Johnson poised to make further investments); that the




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     Company’s technology was novel, revolutionary, and close to market; and that the Company was

     “well- and efficiently-run” by its “brilliant” new CEO (for whom Defendant personally vouched)

     and “genius” founder – each of which was a materially false statement when made, as further

     detailed in the Complaint. See, e.g., id. (setting forth, among other revelations, that Johnson &

     Johnson was not a current Company investor, but rather had licensed and then abandoned its

     involvement in a predecessor entity to the Company after the same technology – repackaged as

     new and “revolutionary” by Defendant to Plaintiff – proved unworkable; Defendant’s Ostrove

     did not invest his own money in the Company; the Company was effectively insolvent and

     lacked a functional board of directors at the time Defendant pitched it as healthy and well-run;

     and the Company’s founder and CEO were together “extract[ing] millions of dollars of investor

     funds from the Company for personal benefit” contemporaneous to Defendant’s 2011 calls).

 •   The Complaint describes the source and existence of duties – including via governmental edict,

     industry norms, and Defendant’s own publications – that Plaintiff knew were owed to him by

     Defendant with respect to the subject matter of these calls, and which were violated by virtue of

     the above-described and other material misrepresentations and omissions made by Defendant to

     Plaintiff. See, e.g., id. ¶ 8(a)-(b). In that same vein, the Complaint at multiple junctures explains

     how and why Plaintiff reasonably and justifiably understood that Defendant had unique, superior

     knowledge of and access to Company information at the time Defendant made and reaffirmed its

     core misrepresentations about the investment – including due to Defendant’s prior involvement

     in creating offering literature for the Company and Defendant’s persistent assurances as to its

     warm, ongoing, special relationship with Company leadership, proof of which was provided

     when Defendant produced the Company’s CEO for a direct lulling call to Plaintiff in 2014 within

     24 hours of boasting to Plaintiff that it could procure such a call. See, e.g., id. ¶ 17.




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         The above representative excerpts demonstrate clear conformance with the Mizzaro factors –

 and go above and beyond to the extent Plaintiff offers detailed facts regarding the state of mind

 elements of these claims. See Mizzaro, 544 F.3d 1230, 1237 (“[I]t is sufficient to plead the who,

 what, when, where, and how of the allegedly false statements and then allege generally that those

 statements were made with the requisite intent.”).

         Meanwhile, Defendant’s conveniently mechanistic interpretation of Rule 9(b) – alongside its

 attempted omission of some of the most difficult allegations to overcome – stands in clear contrast to

 the Complaint’s actual allegations, as well as governing law. For example, at one juncture in the

 Motion, Defendant purports to premise dismissal on the fact that the Complaint at times sets forth the

 “when” of the fraud by month and year, rather than by month, day, and year. See Mot. at 13-14.

 This misconstrues this Circuit’s Rule 9(b) inquiry, which holistically evaluates each individual fraud-

 based complaint to ensure defendants have been placed on notice of the claims brought against them

 with sufficient particularity, forswearing the formulaic, one-size-fits-all approach advocated in the

 Motion. See, e.g., United States v. Baycare Health Sys., 2015 WL 4878456, at *4-5 (M.D. Fla. Aug.

 14, 2015) (affirming that “[w]hether a complaint contains sufficient ‘indicia of reliability’ to satisfy

 Rule 9(b) requires a ‘case-by-case’ determination,” and determining that otherwise detailed pleadings

 that specified the “when” of the fraud via providing “representative years” satisfied Rule 9(b));

 Firehouse Gallery, 2009 WL 4015575, at *3 (rejecting dismissal of claims that meaningfully detailed

 the fraud scheme at issue in conformance with the Mizzaro factors, including via allegation that the

 fraud began in “late 2006”). See also Burgess v. Religious Tech. Center, Inc., 600 F. App’x 657,

 662-63 (11th Cir. 2015) (observing that in the Eleventh Circuit, Rule 9(b) may be satisfied not just by

 conformance with the traditional factors, but also via “alternative,” “relaxed” means, such as in the

 case of “prolonged, multi-act schemes”).

         Defendant’s own cases recognize this: MidAmerica C2L, Inc. v. Siemens Energy, Inc., 2017

 WL 1322327 (M.D. Fla. Apr. 7, 2017), addressed a misrepresentation-based complaint that “wholly”


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 failed to “identify the specific statements or representations made, where the statements or

 representations were made and by whom, how Plaintiffs were misled by the statements or

 representations, or what [Defendant] gained from the alleged fraud,” such that under the

 circumstances, the somewhat more particularized allegations as to the time of the fraud could not

 rescue the remainder of the complaint. Id. at *4. See also S. Pan Services Co. v. S.B. Ballard Constr.

 Co., 2008 WL 3200236, at *5 (M.D. Fla. Aug. 6, 2008) (case cited in the Motion dismissing fraud-

 based claims that “very nearly” met the standard due to some particularization, but also failing to at

 all allege the location of the fraud or even designate a time during which the fraud occurred besides

 at some point “after” a contract was executed).

         In any event, Plaintiff offers particularized allegations that cumulatively satisfy the Mizzaro

 factors; and moreover self-evidently pleads a prolonged, multi-act scheme by Defendant that includes

 (1) detailed discussion of the circumstances constituting the first (the October and December 2011

 calls) and last (the April 12-13, 2016 calls) instances of Defendant’s fraud, as well as (2) multiple

 “illustrative instances” of the ongoing fraud/coverup undertaken by Defendant at points across 2012-

 2015. See Compl. ¶ 18-19. The Complaint thus satisfies Rule 9(b) via either the traditional or

 “relaxed” routes. See Burgess, 600 F. App’x at 662-63.

         c.      The elements of Plaintiff’s claims are well and appropriately pled

         Plaintiff, by alleging a detailed narrative of escalating misrepresentations by Defendant that

 convinced Plaintiff to invest in the Company; covered up the misleading character of those same pre-

 investment representations; and inhibited Plaintiff from exercising rights available to him that could

 have salvaged his investment and rescued the Company from the charlatans leading it, properly

 pleads the elements of fraudulent and negligent misrepresentation in Florida.5


 5
   See, e.g., Burger v. Hartley, 896 F. Supp. 2d 1157, 1170 (S.D. Fla. 2012) (confirming that under Florida
 law, there are four elements of fraudulent misrepresentation: (1) a false statement concerning a material
 fact; (2) the representor's knowledge that (i) the representation is false or (ii) she, he, or it made the
 statement without knowledge of its truth or falsity; (3) an intention that the representation induce another


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         Nevertheless, Defendant offers several elements-based arguments in its Motion. See Mot. at

 14-24. A closer look reveals these arguments to be founded on a confusing strategy: namely,

 Defendant’s apparent refusal to acknowledge the existence of many of the key allegations in the

 Complaint, paired with its inversion or misapplication of governing Florida law with respect to the

 remainder. For example, with respect to the “false statement of material fact” element shared by

 both causes of action here pled and complained of by Defendant:

         Plaintiff Pleads: A detailed procession of material false statements and omissions made by

 Defendant, as summarized supra at 12-14, on topics including Defendant’s Ostrove’s own financial

 participation in the Company; Johnson & Johnson’s present and historical relationship with the

 Company; and the financial and operational solvency of the Company, that Plaintiff alleges

 convinced him to change his mind and invest in the Company. Such allegations individually and

 together satisfy the requirement of pleading a false statement of material fact. See, e.g., Burger, 896

 F. Supp. 2d at 1170 (S.D. Fla. 2012) (liability may be established when defendant claimed a third

 party had already invested in the entity when in fact no such investment had occurred, alongside

 misrepresentations that key transactions would “close soon” and the investment was “sound”);

 Bankers Life Ins. Co. v. Credit Suisse First Boston Corp., 590 F. Supp. 2d 1364, 1369 (M.D. Fla.

 2008) (omission of fraudulent assets of the touted company’s balance sheet, as well as omission of

 accurate updates of that entity’s financial health, sufficed to plead this element) (Kovachevich, J.).

         Defendant argues: most of the above allegations are optical illusions not actually in the

 Complaint. See Mot. at 15 (“Plaintiff alleges only vague pronouncements of confidence and



 to act on it; and (4) consequent injury by the party acting in reliance on the representation) (citations
 omitted); Posen Constr., Inc. v. Lee Cty., 921 F. Supp. 2d 1350, 1360 (M.D. Fla. 2013) (“Under Florida
 law, a plaintiff must plead and prove the following to establish a claim for negligent misrepresentation:
 (1) the defendant made a misrepresentation of a material fact; (2) the defendant made the representation
 without knowledge of its truth or falsity, or under circumstances that it should have known of its falsity;
 (3) the defendant intended that the representation would induce another to act on it; and (4) and injury
 resulting from justifiable reliance on the misrepresentation.”).


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 unsubstantiated predictions of future returns.”).6 Defendant then recasts the false statements it is

 willing to acknowledge as non-actionable puffery. Mot. at 15. By presenting argument directed at

 an invented pleading, rather than acknowledging and trying to overcome the actual false statements

 pled in the Complaint, Defendant’s Motion rebuts itself, and therefore does not support dismissal of

 Plaintiff’s well-pled allegations as to this element of his claims.

         With respect to the elements of Plaintiff’s claims relating to knowledge:

         Plaintiff pleads: A combination of (1) general allegations that Defendant knew, or knew it

 did not know, e.g., Compl. ¶ 24, or should have known, e.g., id. ¶ 35, the falsity of its misstatements

 and omissions delineated throughout the Complaint; and (2) detailed allegations regarding Plaintiff’s

 reasonable belief that Defendant would know what it was talking about, for reasons ranging from

 both parties’ awareness of industry requirements that Defendant educate itself on the topics it

 presents to potential investors prior to such presentations; Defendant’s persistent boasts (and,

 ultimately, proof) regarding its unique, personal relationship with Company leadership; and

 Defendant’s involvement in creating the PPM for the Company that Plaintiff reviewed and tossed

 aside in initially deciding not to invest. See, e.g., id. ¶¶ 8, 16(c), 17, 19(c)-(d). These allegations

 meet and exceed Rule 9(b)’s reminder that state of mind allegations such as knowledge are to be

 alleged “generally” rather than with particularity. See, e.g., W. Coast Roofing & Waterproofing, Inc.

 v. Johns Manville, Inc., 287 F. App’x 81, 88 (11th Cir. 2008) (rejecting dismissal of admittedly

 “conclusory” allegations of knowledge given Rule 9(b)’s statement that knowledge may be averred

 generally in the fraud setting); U.S. Sur Co. v. Edgar, 2013 WL 6332973, at *9 (M.D. Fla. Dec. 5,

 2013) (allegation that defendant knew of the misrepresentation at the time he made it sufficient at

 pleading stage for fraud-based claims). Moreover, these allegations offer a sufficient platform from



 6
  Interestingly, Defendant does acknowledge at least the Johnson & Johnson-related allegations in the
 Complaint early in the Motion, see Mot. at 6, but then simply closes its eyes and wishes those allegations
 away in the Argument section of its brief.


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 which the Court may reasonably infer at this stage of the case that Defendant knew; knew it did not

 know; or should have known the falsity of its misrepresentations.

         Defendant Argues: As before, primarily that several of these allegations simply do not

 exist. See Mot. at 16 (pretending that the only allegations in the Complaint relating to state of mind

 are the general averments within each Count). Defendant also cites to and attempts to transmogrify

 nuanced, fact-specific holdings in the Southern District of Florida into a global assertion that

 knowledge must be pled with particularity, the language of Rule 9(b) notwithstanding. Compare,

 e.g., Kling v. Jon Bourbeau, P.A., 2016 WL 8730199, at *4 (S.D. Fla. Apr. 25, 2016) (dismissing

 claim for failure to specify the “what . . . when . . . and how” of the alleged misrepresentations),

 Zarrella v. Pac. Life Ins. Co., 755 F. Supp. 2d 1218, 1223 (S.D. Fla. 2010) (premising dismissal on

 failure to allege time, place, source, and information at defendant’s disposal with respect to the

 alleged misstatements), and, Jackson v. Ocwen Loan Servicing, LLC, 2011 WL 4345449, at *5 (S.D.

 Fla. Sept. 16, 2011) (blending failure to at all plead reliance, intent, resulting injury alongside failure

 to plead “how and why” defendant knew of the falsity of its misstatements), with, e.g., Johns

 Manville, Inc., 287 F. App’x 81, 88. Plaintiff has in fact sufficiently pled the state-of-mind elements

 of his claims, and further detailed the known and likely sources of Defendant’s superior knowledge

 of the information it misrepresented to Plaintiff time and again; this is more than enough to satisfy

 these elements of the claims, under either the actual standard in this Circuit or even Defendant’s

 constricted view of state-of-mind pleading articulated in its Motion. See, e.g., Dugas v. 3M Co., 101

 F. Supp. 3d 1246, 1254 (M.D. Fla. 2015) (affirming that knowledge may be averred generally under

 Rule 9(b) and concluding that fraud claim was properly pled when straightforward allegation that

 defendant “had knowledge” of the falsehood was paired with “allegations [that] state the relevant

 time period, product, and nature of [the] concealment”).

         With respect to the elements of Plaintiff’s claims relating to duty:




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         Plaintiff alleges: A detailed discussion of the disclosure and other duties and obligations

 that Plaintiff knew Defendant was under by virtue of its profession and attendant regulations and

 publications. See Compl. ¶ 8. Plaintiff also, by virtue of alleging (1) the fact and source of

 Defendant’s unique, superior knowledge of the information it was proffering regarding the Company;

 and (2) that Defendant voluntarily broached these topics at all, established that a duty to disclose was

 in place at the time of the misrepresentations. See, e.g., Cafaro v. Zois, 693 F. App’x 810, 816 (11th

 Cir. 2017) (under Florida law, duty to disclose “exists if a defendant undertakes to disclose material

 information but fails to disclose that information fully”).

         Defendant argues: It had no duty to Plaintiff because, according to Defendant, Florida

 offers only one avenue to establishing a duty to disclose – a relationship of trust and confidence –

 and therefore Defendant need not be held to its many material omissions pled in the Complaint. Mot.

 at 23-24. This misapprehends Florida law, which locates duties to disclose even in arms-length

 transactions once one party volunteers material information, see Cafaro, 693 F. App’x at 816, and

 offers a flexible interpretation of circumstances in which a relationship of trust and confidence arises.

 See, e.g., Doe v. Evans, 814 So. 2d 370, 374 (Fla. 2002) (“such relationships are premised upon the

 specific factual situation surrounding the transaction and the relationship of the parties”) (quotations

 omitted). Defendant never addresses, let alone rebuts, Plaintiff’s allegations that he felt confident

 placing his trust in what Defendant had to say because he was himself aware of the heightened

 disclosure obligations Defendant was under by regulation and publication each time they spoke on

 the phone. See, e.g., Compl. ¶ 8. Once again, Defendant’s pattern of just avoiding Complaint

 allegations that make its desired arguments difficult renders this portion of the Motion lacking.

         Finally, with respect to post-purchase reliance7:




 7
  Defendant’s element-based arguments regarding Plaintiff’s pre-investment allegations are exclusively
 derived from its faulty dependence on the Subscription Agreement, discussed infra.


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         Plaintiff alleges: That he did rely, justifiably so, on misrepresentations made by Defendant

 after Plaintiff purchased shares in the Company, and that those misrepresentations – up to and

 including joint lulling by Defendant and the Company’s CEO on a 2014 phone call – caused Plaintiff

 not to exercise shareholder rights that would have uncovered deficient leadership at the Company

 (which, by extension, would have uncovered Defendant’s misrepresentations). See, e.g., Compl. ¶

 30. This sufficiently alleges reliance-based elements of his claims for Defendant’s conduct that had

 ramifications independent of the initial investment decision.

         Defendant argues: Once more, as part of an interpretation of the Complaint that is

 somewhere between imagined and incomplete, that Defendant was allowed to make post-investment

 misrepresentations because they existed only to cover up its initial misstatements and did not carry

 with them any actionable independent harm. Mot. at 21-22. This ignores the specific harms Plaintiff

 pled as resulting from his reliance on these post-purchase misrepresentations, see Compl. ¶¶ 30-31,

 and therefore fails to appropriate address Plaintiff’s reliance-based allegations in full. Dismissal is

 inappropriate on these grounds.

 III.    The Subscription Agreement Did Not Grant Defendant a License to Defraud

         One of Defendant’s prominent arguments in the Motion is that it was allowed to issue scads

 of actionable misrepresentations because the Subscription Agreement between Plaintiff and the

 Company – which Plaintiff entered into because of Defendant’s misdeeds – granted it a retroactive

 license to defraud. See Mot. at 17-21 (claiming Subscription Agreement precludes pleading

 knowledge and reliance elements of Plaintiff’s claims). This magical belief in the curative power of

 the Subscription Agreement as to Defendant’s various misrepresentations gets the law wrong; gets

 the contract wrong; and is premature.

         a.      Legal Standard

         Under Florida law, “where an agreement is procured by fraud or misrepresentation every part

 of the contract is vitiated because it is well settled that a party cannot contract against liability for his


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 own fraud.” Global Quest, LLC v. Horizon Yachts, Inc., 849 F.3d 1022, 1027 (11th Cir. 2017) (citing

 Oceanic Villas, Inc. v. Godson, 4 So. 2d 689, 690 (Fla 1941)). “[A] contract provision . . . cannot

 preclude a fraud claim, unless the contract expressly states that it is incontestable on the ground of

 fraud.” Id. at 1028. Instead, contractual disclaimers are to be evaluated alongside all other evidence

 uncovered across the life cycle of a case, and are not to be wielded to dismiss complaints. Id. at

 1028-29. See also Viridis Corp. v. TCA Global Credit Master Fund, LP, 721 F. App’x 865, 875 (11th

 Cir. 2018) (“Florida [] prohibit[s] a contractual waiver that exculpates a contracting party’s

 fraudulent misconduct.”). Accord Lower Fees, Inc. v. Bankrate, Inc., 74 So. 3d 517, 591 (Fla. 4th

 DCA 2011) (reversing dismissal of fraudulent inducement claim premised on “no reliance” clause

 because only “contract language which specifically and explicitly negates the right to bring [a fraud]

 claim” supports dismissal).

         b.      The Subscription Agreement offers no basis to dismiss the Complaint

         As the above cases make clear, binding Florida precedent frowns on defendants who try to

 launder their fraudulent conduct through exculpatory provisions in contracts. This is particularly so

 when, as here, the fraud at issue is alleged to have caused the defrauded party to sign the very

 contracts those defendants later deploy as shielding them from liability. Accord Burton v. Linotype

 Co., 556 So. 2d 1126, 1127 (Fla. 3d DCA 1989) (“Fraud is an intentional tort and thus not subject to

 the cathartic effect of the exculpatory clauses found in contracts.”) (quotations omitted).

         Defendant tries and fails to make that very unavailing argument over and over again in the

 Motion. Although no portion of the Subscription Agreement specifically and explicitly negates

 Plaintiff’s right to bring claims sounding in fraud,8 Defendant – whether arguing that Plaintiff cannot

 plead knowledge or reliance due to various provisions in the Subscription Agreement, Mot. at 17-21,



 8
   Quite the opposite, in fact: one Subscription Agreement provision cited in the Motion includes language
 confirming its exculpatory effect does not apply in the case of gross negligence or willful misconduct, i.e.,
 fraud. See Dkt. No. 11-5, Mot., Ex. D, at 10, § 28(a).


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 or claiming with a straight face that portions of the Subscription Agreement (and PPM) started the

 clock on the statute of limitations on the date it was executed, Mot. at 12 – persistently disregards

 longstanding Florida law and recent precedent flatly affirming same. See Asokan v. Am. Gen. Life

 Ins. Co., --- F. Supp. 3d ---, 2017 WL 3712919, at *9 (M.D. Fla. 2017) (“[T]he Eleventh Circuit

 recently recognized that in order to negate a claim for fraud in Florida, a contract must expressly

 state that it is incontestable on the ground of fraud.”) (citation omitted). All such Subscription

 Agreement-derived, disclaimer-based arguments for dismissal in the Motion are therefore deficient

 and should be disregarded.9

                                              CONCLUSION

         For each and all of the foregoing reasons, Plaintiff respectfully requests that the Court deny

 Defendant’s Motion.10 Plaintiff echoes Defendant’s request for oral argument on the Motion.

 Dated: June 8, 2018                               Respectfully submitted,

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 9
   Moreover, portions of the Subscription Agreement deployed in the Motion do not stand for what
 Defendant claims they stand for. Section 2(d) of the Subscription Agreement, for example, only seeks to
 circumscribe the universe of written materials reviewed by the purchaser of Company securities; it in no
 way impacts a case like this which is founded on oral misrepresentations. See Mot., Ex. D, at 3, § 2(d)
 (narrowing universe of “offering literature” relied on by Plaintiff). Similarly, Defendant omits the crucial
 phrase “by or on behalf of the Company” at Section 28(a)(3) of the Subscription Agreement in making its
 disclaimer arguments, as may be addressed at a later date in this case. Id. § 28(a)(3).
 10
    If the Court nevertheless determines that some or all of the Complaint should be dismissed, Plaintiff
 respectfully requests leave to file an amended complaint.


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                                          Certificate of Service

         I HEREBY CERTIFY that on June 8, 2018, a copy of the foregoing Response was filed

 electronically with the Clerk of the Court using the CM/ECF system. Notice of this filing will be

 sent to all parties by operation of the Court’s electronic filing system.


                                                  /s/ Leighton Leib
                                                  LEIGHTON LEIB
